Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 1 of 16 Page ID
                                  #:266
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 2 of 16 Page ID
                                  #:267
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 3 of 16 Page ID
                                  #:268
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 4 of 16 Page ID
                                  #:269
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 5 of 16 Page ID
                                  #:270
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 6 of 16 Page ID
                                  #:271
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 7 of 16 Page ID
                                  #:272
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 8 of 16 Page ID
                                  #:273
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 9 of 16 Page ID
                                  #:274
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 10 of 16 Page ID
                                  #:275
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 11 of 16 Page ID
                                  #:276
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 12 of 16 Page ID
                                  #:277
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 13 of 16 Page ID
                                  #:278
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 14 of 16 Page ID
                                  #:279
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 15 of 16 Page ID
                                  #:280
Case 2:08-cv-06090-FMC-AGR Document 29-20 Filed 07/22/09 Page 16 of 16 Page ID
                                  #:281
